 Case 2:90-cv-00520-KJM-SCR                Document 8581   Filed 03/28/25   Page 1 of 2


 1     MICHAEL W. BIEN – 096891                       DONALD SPECTER – 083925
       ERNEST GALVAN – 196065                         STEVEN FAMA – 099641
 2     LISA ELLS – 243657                             PRISON LAW OFFICE
       ROSEN BIEN GALVAN &                            1917 Fifth Street
 3     GRUNFELD LLP                                   Berkeley, California 94710-1916
       101 Mission Street, Sixth Floor                Telephone: (510) 280-2621
 4     San Francisco, California 94105-1738
       Telephone: (415) 433-6830
 5
                                                      CLAUDIA CENTER – 158255
 6                                                    DISABILITY RIGHTS EDUCATION
                                                      AND DEFENSE FUND, INC.
 7                                                    Ed Roberts Campus
                                                      307 Adeline Street, Suite 210
 8                                                    Berkeley, California 94703-2578
                                                      Telephone: (510) 644-2555
 9
10 Attorneys for Plaintiffs
11
12                                    UNITED STATES DISTRICT COURT
13                                    EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                             Case No. 2:90-cv-00520-KJM-SCR
16                      Plaintiffs,                   STIPULATION AND ORDER
                                                      CONFIRMING ATTORNEYS’ FEES
17                 v.                                 AND COSTS FOR THE FOURTH
                                                      QUARTER OF 2024
18 GAVIN NEWSOM, et al.,
                                                      Judge: Hon. Sean C. Riordan
19                      Defendants.
20
21
22
23
24
25
26
27
28
     [4657575.1]

                        STIPULATION AND ORDER CONFIRMING ATTORNEYS’ FEES AND COSTS
                                      FOR THE FOURTH QUARTER OF 2024
  Case 2:90-cv-00520-KJM-SCR                 Document 8581        Filed 03/28/25     Page 2 of 2


 1                 Pursuant to the periodic fees process in this case, Plaintiffs sent their Quarterly
 2 Statement for the Fourth Quarter of 2024 to Defendants via e-mail on January 29, 2025.
 3 The parties completed their meet and confer process on February 28, 2025. The parties
 4 have resolved all disputes regarding fees and costs for the Fourth Quarter of 2024, with an
 5 agreement to reduce claimed amounts to a total of $1,082,202.82 calculated at a rate of
 6 $258.00 per hour pursuant to 42 U.S.C.A. § 1997e(d)(3).
 7                 THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE that
 8 $1,082,202.82 plus interest is due and collectable as of forty-five days from the date of
 9 entry of this Order. Interest on these fees and costs will run from March 1, 2025 (31 days
10 after Defendants’ receipt of Plaintiffs’ statement), accruing at the rate provided by
11 28 U.S.C. § 1961.
12                 IT IS SO STIPULATED.
13
14 DATED: March 3, 2025                                   /s/ Damon McClain
                                                          Damon McClain
15                                                        Supervisory Deputy Attorney General
16                                                        Attorneys for Defendants

17
18 DATED: March 3, 2025                                   /s/ Lisa Ells
                                                          Lisa Ells
19
                                                          ROSEN BIEN GALVAN & GRUNFELD LLP
20                                                        Attorneys for Plaintiffs

21
22                 IT IS SO ORDERED.
23 DATED: March 27, 2025.
24
25
26
27
28
     [4657575.1]
                                                           1
                         STIPULATION AND ORDER CONFIRMING ATTORNEYS’ FEES AND COSTS
                                       FOR THE FOURTH QUARTER OF 2024
